                                  Case 2:09-cv-00052-R-RC Document 68 Filed 12/06/10 Page 1 of 2 Page ID #:1549



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                                   8                              UNITED STATES DISTRICT COURT
                                   9                          CENTRAL DISTRICT OF CALIFORNIA
777 S. FIGUEROA ST., 47TH FLOOR
LOS ANGELES, CALIFORNIA 90017




                                  10                                   WESTERN DIVISION
                                  11
         KLINEDINST PC




                                  12    GUARDIAN MEDIA                          Case No.      2:09-cv-0052 R (RCx)
                                        TECHNOLOGIES, LTD,
                                  13                                            ORDER DISMISSING ALL CLAIMS
                                                     Plaintiff,
                                  14                                            Judge:              Manuel L. Real
                                              v.                                Magistrate Judge:   Rosalyn M. Chapman
                                  15                                            Complaint Filed:    January 6, 2009
                                        TOSHIBA AMERICA CONSUMER                Trial Date:         None set
                                  16    PRODUCTS, L.L.C.,
                                  17                 Defendant.
                                  18
                                        AND RELATED CROSS ACTIONS.
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                                  20
                                  21          Pursuant to the Joint Motion for Dismissal filed by Plaintiff Guardian Media
                                  22    Technologies, Ltd. and Defendant Toshiba America Consumer Products, L.L.C.
                                  23    (“Toshiba”) and for other good cause;
                                  24    ///
                                  25    ///
                                  26    ///
                                  27    ///
                                  28    ///
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                                                                                   [PROPOSED] ORDER DISMISSING ALL CLAIMS
                                                                                                          2:09-cv-0052 R (RCx)
                                  Case 2:09-cv-00052-R-RC Document 68 Filed 12/06/10 Page 2 of 2 Page ID #:1550



                                   1           The Court ORDERS, ADJUDGES, AND DECREES as follows:
                                   2           1.    Guardian’s claims against Toshiba are dismissed WITH PREJUDICE;
                                   3           2.    Toshiba’s claims against Guardian are dismissed WITH PREJUDICE; and
                                   4           3.    All costs, expenses and attorneys fees are to be borne by the party that
                                   5    incurred them.
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                                        DATED: December 6, 2010                By:
                                   9                                                  Manuel L. Real
                                                                                      United States District Court
777 S. FIGUEROA ST., 47TH FLOOR
LOS ANGELES, CALIFORNIA 90017




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                                                                                     [PROPOSED] ORDER DISMISSING ALL CLAIMS
                                                                                                            2:09-cv-0052 R (RCx)
